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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN,                                 :
also known as “Rufio Panman,”                  :
JOSEPH BIGGS,                                  :
ZACHARY REHL, and                              :
CHARLES DONOHOE,                               :
                                               :
                       Defendants.             :

    GOVERNMENT’S NOTICE REGARDING DISCOVERY CORRESPONDENCE

       The United States of America, by and through undersigned counsel, respectfully submits

this notice of recent correspondence to defense counsel regarding discovery productions. Filed as

attachments to this notice are letters to counsel, identified in the following chart:

 Attachment            Date                          Recipients and Content
                                     Counsel for Nordean
       1            11/30/2021       (Nordean Sentinel Files)
                                     Counsel for Biggs
       2            12/3/2021        (Biggs Sentinel Files)
                                     Counsel for Donohoe
       3            12/13/2021       (Donohoe Sentinel Files)
                                     Counsel for Rehl
       4            12/14/2021       (Rehl Sentinel Files)
                                     Counsel for All Defendants
       5            12/17/2021       (Memorializing Cross Discovery)
                                     Counsel for All Defendants
       6            12/23/2021       (Biggs Sentinel Files)
                                     Counsel for All Defendants
       7            12/27/2021       (Media obtained via Search Warrrant)
                                     Counsel for All Defendans
       8            1/14/2022        (U.S. Capitol Viewing Letter)
                                     Counsel for Rehl
       9            1/21/2022        (Re-production of unscoped image of Rehl’s phone)
                                     Counsel for Rehl
      10            1/26/2022        (Re-production of unscoped Rehl Apple iCloud)
                                     Counsel for All Defendants
      11            1/28/2022        (T-Mobile search warrant returns)
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                                   Counsel for All Defendants
      12           1/30/2022       (Cross-Discovery from U.S. v. Garcia, 21-cr-129)
                                   Counsel for All Defendants
      13           1/31/2022       (Cross-Discovery from several cases)
                                   Counsel for All Defendants
      14            2/1/2022       (Cross-Discovery from U.S. v. Fonticoba, 21-cr-638)
                                   Counsel for All Defendants
      15            2/1/2022       (Donohoe Sentinel Files)
                                   Counsel for All Defendants
      16            2/1/2022       (Nordean Sentinel Files)
                                   Counsel for All Defendants
      17            2/4/2022       (LA Times Video)
                                   Counsel for All Defendants
      18            2/4/2022       (Rehl Sentinel Files)

       In addition to the above productions, the government has provided counsel with several

detailed letters, not attached here, memorializing the government’s global discovery productions.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                     By:           /s/ Luke M. Jones
                                            LUKE M. JONES, Virginia Bar 75053
                                            ERIK M. KENERSON, Ohio Bar 82960
                                            JASON B.A. MCCULLOUGH, DC Bar 998006
                                            Assistant United States Attorneys
                                            U.S. Attorney’s Office for the District of Columbia
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-7066
                                            Luke.Jones@usdoj.gov




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